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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION

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IN RE SUBPOENA TO TESLA, INC,, § CASE NO.
SANMINA CORPORATION, AND §
SPACE EXPLORATION §
TECHNOLOGIES §

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ORDER REGARDING MOTION TO SUBPOENAS

Before the Court is ST's Customers’ Motion to Quash Subpoenas. Having considered the
motion and the response, the Court is of the opinion that the motion should be, and hereby is,
GRANTED. The subpoenas to Tesla, Inc., Sanmina Corporation, and Space Exploration
Technologies are quashed.

IT IS SO ORDERED:

Dated: , 2022

United States District Judge

